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                           IN THE UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                  SOUTHEASTERN DIVISION

WILLIAM T. COOPER, JAY R.                       )
HOLCOMB, JEFFERY D. JOHNSON,                    )
JEREMY S. STOELTING, and JAMES                  )
D. PATTON,                                      )
                                                )
                           Plaintiffs,          ) Case No. 1:17-cv-00073
                                                )
         V.                                     )
                                                )
                                                )
CORY HUTCHESON,                                 )
                                                )
And                                             )
                                                )
SECURUS TECHNOLOGIES, INC.                      )
                                                )
                                                )
                           Defendants.          )



                    JOINT STIPULATION OF DISMISSAL OF COMPLAINT
                        PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(ii)

         IT IS HEREBY STIPULATED AND AGREED, by and between Plaintiffs William T.

Cooper, Jay R. Holcomb, Jeffery D. Johnson, Jeremy S. Stoelting, and James D. Patton (collectively

“Plaintiffs”) and Defendant Securus Technologies, LLC f/k/a Securus Technologies, Inc. (“Securus

Technologies”) and Defendant Cory Hutcheson, and the parties’ respective counsel, that pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiffs’ Second Amended Complaint (Doc. # 53) is hereby:

         1. Dismissed with prejudice against Defendant Securus Technologies; and

         2. Dismissed without prejudice against Defendant Cory Hutcheson.




010-9267-8631/2/AMERICAS
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                                            Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 8, 2021 the foregoing was filed electronically with the Clerk
of Court to be served by operation of the Court’s electronic filing system to the attorneys of record in
this case.

                                                               /s/ John C. Steffens




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